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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                       ______

ANTONIO GARZA,

                      Petitioner,                   Case No. 2:20-cv-175

v.                                                  Honorable Paul L. Maloney

MIKE BROWN,

                      Respondent.
____________________________/

                                            ORDER

               In accordance with the opinion entered this day:

               IT IS ORDERED that a certificate of appealability is DENIED.



Dated:    October 2, 2020                           /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
